Case 2:18-cv-00438-SPC-UAM Document 36 Filed 10/16/18 Page 1 of 4 PageID 201



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

JOE MYERESS,

             Plaintiff,

v.                                              Case No: 2:18-cv-438-FtM-38CM

MARMONT HILL, INC. and
PARVEZ TAJ,

             Defendants.


                                      ORDER

      This matter comes before the Court upon review of Defendants’ Motion to Stay

Case Management Deadlines, Plaintiff’s response in opposition, and Defendants’

Unopposed Motion to Enlarge Time to Add Parties or to Amend the Pleadings. Docs.

32, 33, 35. Defendants seek to stay the deadline to add parties or amend pleadings

and suspend the commencement of discovery pending resolution of Defendants’

motion to dismiss or, alternatively, extend the deadline to add parties or amend

pleadings to fourteen (14) days following the Court’s ruling on the motion to dismiss.

Doc. 32 at 2; Doc. 35 at 2. Plaintiff opposes staying or suspending the discovery

deadline but does not oppose an enlargement of time to add parties or amend

pleadings. See Doc. 33; Doc. 35 at 2. For the reasons stated herein, the motion to

stay will be denied, and the motion to extend the deadline to add parties or amend

pleadings will be granted.

      Motions to stay can be granted under Rule 26(c) of the Federal Rules of Civil

Procedure, and “the moving party bears the burden of showing good cause and
Case 2:18-cv-00438-SPC-UAM Document 36 Filed 10/16/18 Page 2 of 4 PageID 202



reasonableness” justify the stay. Feldman v. Flood, 176 F.R.D. 651, 652 (M.D. Fla.

1997) (quoting Simpson v. Specialty Retail Concepts, Inc., 121 F.R.D. 261, 263 (M.D.

N.C. 1988)). When determining whether to stay discovery pending resolution of a

motion, the Court must balance the harm produced by a delay in discovery against

the possibility the motion will be granted and entirely eliminate the need for such

discovery, which involves “weighing the likely costs and burdens of proceeding with

discovery.”   McCabe v. Foley, 233 F.R.D. 683, 685 (M.D. Fla. 2006) (quoting

Feldman, 176 F.R.D. at 652).

      The Eleventh Circuit has noted that “[f]acial challenges to the legal sufficiency

of a claim or defense, such as a motion to dismiss based on failure to state a claim for

relief, should . . . be resolved before discovery begins.” Chudasama v. Mazda Motor

Corp., 123 F.3d 1353, 1367 (11th Cir. 1997). “[N]either the parties nor the court have

any need for discovery before the court rules on the motion” because the dispute is

purely legal and involves no issues of fact. Id.; Horsley v. Feldt, 304 F.3d 1125, 1131

n.2 (11th Cir. 2002). Chudasama does not stand, however, for the proposition that

all discovery in every circumstance should be stayed pending a decision on a motion

to dismiss. Koock v. Sugar & Felsenthal, LLP, No. 8:09-cv-609-T-17EAJ, 2009 WL

2579307, at *2 (M.D. Fla. Aug. 19, 2009). “Instead, Chudasama and its progeny

‘stand for the much narrower proposition that courts should not delay ruling on a

likely meritorious motion to dismiss while undue discovery costs mount.’”            Id.

(quoting In re Winn Dixie Stores, Inc., No. 3:04-cv-194-J-33MCR, 2007 WL 1877887,

at *1 (M.D. Fla. June 28, 2007)).




                                         -2-
Case 2:18-cv-00438-SPC-UAM Document 36 Filed 10/16/18 Page 3 of 4 PageID 203



        “A request to stay discovery pending a resolution of a motion is rarely

appropriate unless resolution of the motion will dispose of the entire case.” McCabe,

233 F.R.D. at 685. To this end, the court must take a “preliminary peek” at the

merits of the dispositive motion to see if it “appears to be clearly meritorious and truly

case dispositive.” Id. (citation and internal quotation marks omitted). This does

not require the Court to decide on a pending dispositive motion.          Feldman, 176

F.R.D. at 652. The Court has broad discretion to stay discovery pending resolution

of a dispositive motion. Hovermale v. Sch. Bd. of Hillsborough Cty Fla., 128 F.R.D.

287, 289 (M.D. Fla. 1989).

        Here, after taking a “preliminary peek” at the motion to dismiss, the Court

finds it is not evident the motion to dismiss is “clearly meritorious and truly case

dispositive,” especially given that at least some of the motion to dismiss is dedicated

to disputing Plaintiff’s alleged facts rather than attacking the legal sufficiency of

Plaintiff’s Complaint. See McCabe, 233 F.R.D. at 685; see also Doc. 26. Therefore,

the Court finds the prejudice in preventing Plaintiff from proceeding with discovery

outweighs the likelihood that Defendants’ motion to dismiss will dispose of the entire

case.    Accordingly, the Court will deny Defendants’ motion to stay. The Court will

grant Defendants’ motion to extend the deadline to amend pleadings and add parties,

however, for good cause shown and because it is unopposed.




                                          -3-
Case 2:18-cv-00438-SPC-UAM Document 36 Filed 10/16/18 Page 4 of 4 PageID 204



        ACCORDINGLY, it is

        ORDERED:

        1.   Defendants’ Motion to Stay Case Management Deadlines (Doc. 32) is

DENIED.

        2.   Defendants’ Unopposed Motion to Enlarge Time to Add Parties or to

Amend Pleadings (Doc. 35) is GRANTED. Defendants shall have FOURTEEN (14)

DAYS following the Court’s resolution of Defendants’ Motion to Dismiss (Doc. 26) to

add parties or amend pleadings.

        DONE and ORDERED in Fort Myers, Florida on this 16th day of October,

2018.




Copies:
Counsel of record




                                       -4-
